21-51523-mmp Doc#219 Filed 12/07/22 Entered 12/07/22 21:31:02 Main Document Pg 1 of
                                       17



                            IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE WESTERN DISTRICT OF TEXAS
                                      SAN ANTONIO DIVISION

   IN RE:                                               §
                                                        §
   DEEPROOT CAPITAL MANAGEMENT,                         §         BANKRUPTCY NO. 21-51523-MMP
   LLC ET AL., 1                                        §
                                                        §
            DEBTORS                                     §             JOINTLY ADMINISTERED
                                                        §
                                                        §
   JOHN PATRICK LOWE,                                   §
   CHAPTER 7 TRUSTEE                                    §
   FOR THE BANKRUPTCY ESTATE                            §
   OF DEEPROOT CAPITAL                                  §
   MANAGEMENT, LLC ET AL.,                              §         ADV. PROC. NO.
          PLAINTIFF                                     §
                                                        §
   v.                                                   §
                                                        §
   AZAR PARCHAMI,                                       §
         DEFENDANT                                      §


                                   PLAINTIFF’S ORIGINAL COMPLAINT

            Plaintiff, John Patrick Lowe, Chapter 7 Trustee (“Plaintiff” or “Trustee”) for the jointly

   administered Bankruptcy Cases of deeproot Capital Management, LLC et al. (“deeproot”) 2 hereby

   files this Original Complaint, respectfully showing the Court as follows:



   1
    The jointly administered chapter 7 cases, along with their respective case numbers and the last four digits of each
   Debtor's federal tax identification number, are: I n R e : Policy Services, Inc. 21-51513 (2864), In Re: Wizard
   Mode Media, LLC, 21-51514 (3205), I n R e : deeproot Pinball LLC, 21-51515 (0320), I n R e : deeproot Growth
   Runs Deep Fund, LLC, 21-51516 (8046), I n R e : deeproot 575 Fund, LLC, 21-51517 (9404), I n R e : deeproot 3
   Year Bonus Income Debenture Fund, LLC, 21-51518 (7731), In Re: deeproot Bonus Growth 5 Year Debenture
   Fund, LLC, 21-51519 (9661), In Re: deeproot Tech LLC, 21-51520 (9043), In Re: deeproot Funds LLC, 21-51521
   (9404), I n R e : deeproot Studios LLC , 21-51522 (6283), and In Re: deeproot Capital Management, LLC, 21-
   51523 (2638) (collectively, the “Bankruptcy Cases”).
   2
    The debtors—Policy Services, Inc., Wizard Mode Media, LLC, deeproot Pinball LLC, deeproot Growth Runs Deep
   Fund, LLC, deeproot 575 Fund, LLC, deeproot 3 Year Bonus Income Debenture Fund, LLC, deeproot BonusGrowth
   5 Year Debenture Fund, LLC, deeproot Tech LLC, deeproot Funds, LLC, deeproot Studios, LLC, and deeproot Capital
   Management, LLC—are referred to herein as “Debtors” or “deeproot Entities.”


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21-51523-mmp Doc#219 Filed 12/07/22 Entered 12/07/22 21:31:02 Main Document Pg 2 of
                                       17



                                          I.       PRELIMINARY STATEMENT

              1.       From late 2012 to mid-2021, Robert J. Mueller (“Mueller”), the sole principal and

   manager of the Debtors, orchestrated a Ponzi scheme wherein he persuaded investors (typically

   retirees) to cash out annuities and individual retirement accounts and invest the funds in Mueller’s

   various investment funds, including but not limited to the deeproot BonusGrowth 5 Year

   Debenture Fund, LLC (the “5 Year Debenture Fund”), the deeproot 575 Fund, LLC (the “575

   Fund”) and deeproot Growth Runs Deep Fund, LLC (the “dGRD Fund” and collectively the

   “Subsidiary Funds”). Beginning in 2012, the deeproot Entities offered and sold life settlements.

   However, after the Texas Supreme Court’s 2015 3 decision holding that life settlements constituted

   securities under the Texas Securities Act, the deeproot Entities began to offer and sell debenture

   bonds. Investors would be located through insurance agents, wealth advisors, and other financial

   professionals (the “Finders”). The vast majority the Finders were not licensed to sell securities as

   broker-dealers or registered investment advisors. Monies invested in the Subsidiary Funds were

   eventually transferred to deeproot Funds, LLC before being paid out to investors in the form of

   interest payments, dividend payments, or withdrawals of principal. deeproot Funds, LLC was the

   parent of the Subsidiary Funds, and Policy Services, Inc. was the parent of deeproot Funds, LLC.

              2.       On August 20, 2021, a few weeks prior to the filing of the Debtors’ bankruptcy

   cases, the United States Securities and Exchange Commission (“SEC”) initiated a civil action

   against Mueller and several of his entities for violations of federal securities laws. 4 As a result of

   that investigation, it became clear that Mueller not only funneled money to his other related entities

   from the investment funds and used investors’ money to prop up his ultimately unsuccessful



   3
       Life Partners, Inc. v. Arnold, 464 S.W.3d 660, 667 (Tex. 2015).
   4
       Securities and Exchange Commission v. Robert J. Mueller et al., Case No. 5:21-cv-00785-XR (W.D. Tex.).

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21-51523-mmp Doc#219 Filed 12/07/22 Entered 12/07/22 21:31:02 Main Document Pg 3 of
                                       17



   pinball business, but Mueller also used new investor money to pay moneys owed to earlier

   investors, making the deeproot Entities a Ponzi scheme. Almost all of the deeproot Entities’

   investors lost every dollar they invested.

            3.    The Finders contracted with deeproot Funds, LLC and received finders’ fees and

   commissions in exchange for finding new investors into the deeproot Entities’ Ponzi scheme. The

   commissions and fees received by Finders that were not registered as investment advisors or

   broker-dealers are contrary to securities laws and these unregistered finders are liable to investors

   and creditors of the deeproot Entities.

                                                II.   PARTIES

            4.    Plaintiff is the duly qualified and acting Chapter 7 Trustee of the Debtors’ jointly

   administered Bankruptcy Cases. The Trustee brings this adversary proceeding pursuant to Federal

   Rule of Bankruptcy Procedure 7001, 28 U.S.C. § 157, and all other applicable law.

            5.    Defendant Azar Parchami (“Parchami”) is an individual residing in Boca Raton,

   Florida. She can be served with process by United States First Class Mail at 600 SW 1st St., Boca

   Raton, Florida 33486, or wherever else she may be found.

                                     III.       JURISDICTION AND VENUE

            6.    This Court has jurisdiction over this adversary proceeding pursuant to 28 U.S.C. §§

   1331 and 1334 and Fed. R. Bankr. P. 7001. This adversary proceeding constitutes a core

   proceeding pursuant to 28 U.S.C. § 157. To the extent necessary, this Court has supplemental

   jurisdiction pursuant to 28 U.S.C. § 1367.

            7.    To the extent the reference is withdrawn or the Bankruptcy Court is unable to enter

   a final judgment, Plaintiff requests the Bankruptcy Court be permitted and assigned to preside over

   all pre-trial matters, including the issuance of findings of fact and conclusions of law.



   {00601954;2}                                       3
21-51523-mmp Doc#219 Filed 12/07/22 Entered 12/07/22 21:31:02 Main Document Pg 4 of
                                       17



            8.    Venue in this adversary proceeding is proper in this Court pursuant to 28 U.S.C. §

   1409.

                                              IV.    FACTS

            9.    Mueller served as the principal of all of the deeproot Entities and orchestrated a

   Ponzi scheme wherein he offered and sold securities to individuals for investment in pooled

   investment funds. Mueller then used the invested money to fund his other business ventures,

   including his nascent pinball machine business. He also used the money to fund his lavish lifestyle.

   Crucially, Mueller used later investors’ money to pay fictional returns to earlier investors.

   A.       The deeproot Entities and the Ponzi Scheme

            10.   A Ponzi scheme is “a fraudulent investment scheme in which money contributed

   by later investors generates artificially high dividends or returns for the original investors, whose

   example attracts even larger investments.” BLACK’S LAW DICTIONARY, Ponzi scheme (11th ed.

   2019). A Ponzi scheme operates by using money from new investors to pay earlier investors,

   typically “without any operation or revenue-producing activity other than the continual raising of

   new funds.” Id. “[A] Ponzi scheme is, as a matter of law, insolvent from its inception.” Janvey v.

   Alguire, 647 F.3d 585, 597 (5th Cir. 2011).

            11.   The deeproot Entities commenced operations in 2012. The first entity formed was

   Policy Services, Inc. deeproot Funds, LLC is a direct subsidiary of Policy Services, Inc. The

   Subsidiary Funds were formed as direct subsidiaries of deeproot Funds, LLC. A review of the

   deeproot Entities’ QuickBooks files and other financial books and records revealed that all of the

   net winners were paid from deeproot Funds, LLC. A review of the deeproot Entities’ QuickBooks

   files revealed that all of the Finders were paid commissions and fees from Policy Services, Inc.




   {00601954;2}                                     4
21-51523-mmp Doc#219 Filed 12/07/22 Entered 12/07/22 21:31:02 Main Document Pg 5 of
                                       17



              12.      Policy Services, Inc. and its subsidiaries never received an initial equity investment,

   and the deeproot Entities were all insolvent as of inception in 2012 and continued to operate at a

   loss. The deeproot Entities gave the appearance of profitability, which Mueller used to entice new

   investors and obtain new money from investors. The deeproot Entities offered investments at

   higher-than-market levels of return, including life settlements and debenture bonds. The deeproot

   Entities raised capital via life settlements until mid-2015, and then began raising funds via

   debenture bonds. The life settlements offered and sold by the deeproot Entities, with the help of

   insurance agents and wealth advisors, were securities that the Texas-based deeproot Entities had

   no authority to offer or sell. See Life Partners, Inc. v. Arnold, 464 S.W.3d 660, 667 (Tex. 2015)

   (holding that life settlements are securities for the purposes of the Texas Securities Act). In fact,

   after the Life Partners decision was issued, the deeproot Entities abandoned sales of life

   settlements and began offering and selling debenture bonds. 5

              13.      There was no recorded capital investment on the balance sheet, and disbursements

   to Mueller and others were improperly recorded as assets rather than expenses, further boosting

   the appearance of profitability. After recharacterizing the disbursements as expenses, the equity

   for Policy Services, Inc. was $(1,490,187) for the year ending on December 31, 2013, and

   $(423,785) for the year ending on December 31, 2012. Policy Services and its subsidiaries had

   minimal revenue and had no net income as of at least December 31, 2012. Policy Services, Inc.

   continued to operate at a loss from the time of its inception and all of the deeproot Entities remained

   insolvent until filing for bankruptcy on December 9, 2021 (“Petition Date”).

              14.      Since there was no source of revenue, the deeproot Entities relied on newly invested

   money to fund operations and make payments to earlier investors. From 2013 until 2021, deeproot



   5
       The deeproot Entities obtained Form D exemptions from the SEC to offer these securities.

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21-51523-mmp Doc#219 Filed 12/07/22 Entered 12/07/22 21:31:02 Main Document Pg 6 of
                                       17



   Funds, LLC used new investor money to pay interest and dividends to earlier investors. For

   example, during the final three years of the deeproot Entities’ operation, the following payments

   were made: (1) in 2019, deeproot Funds, LLC received $18,300,190.00 from new investors and

   used $1,074,885.00 to previous investors; (2) in 2020, deeproot Funds, LLC received $7,093,055

   from new investors and used $1,333,554.00 to pay previous investors; and (3) in 2021, deeproot

   Funds, LLC received $10,827,147 from new investors and used $918,391.00 to pay previous

   investors.

            15.   Based upon the books and records of deeproot Funds, LLC from 2019 and 2021,

   the entity only generated $865 in revenue during the nine years of its existence. Policy Services,

   Inc. had only minimal revenue from the time of its inception in 2012.

            16.   On December 9, 2021, the deeproot Entities each filed for relief under title 11 of

   the United States Code. The Bankruptcy Cases were ordered to be jointly administered under the

   lead case In re: deeproot Capital Management, LLC, 21-51523.

            17.   On or about December 21, 2021, John Patrick Lowe was appointed as Chapter 7

   Trustee of the Debtors’ jointly administered Bankruptcy Cases.

   B.       Finders

            18.   As the principal of the deeproot Entities, Mueller (through deeproot Funds, LLC)

   contracted with Finders all across the country to locate new investors and raise money for the

   deeproot Entities. A securities broker-dealer is defined as “any person engaged in the business of

   effecting transactions for the account of others.” 15 U.S.C. § 78c. Broker-dealers are required to

   register as such with the SEC. 15 U.S.C. § 78o. Prior to 2015, the deeproot Entities offered and




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21-51523-mmp Doc#219 Filed 12/07/22 Entered 12/07/22 21:31:02 Main Document Pg 7 of
                                       17



   sold life settlements. After the Texas Supreme Court’s 2015 decision holding that life settlements

   are securities, the deeproot Entities offered securities in the form of debenture bonds. 6

              19.      The vast majority of the deeproot Entities’ contracted Finders were unregistered as

   broker-dealers despite the fact that they engaged in transactions to facilitate the sale of securities,

   including debenture bonds and life settlements. 7 The Finders that were registered investment

   advisors or broker-dealers failed to conduct the requisite due diligence into the financial condition

   of the deeproot Entities when making investment recommendations to clients. The deeproot

   Entities relied on these Finders to bring in a steady flow of money because there was no other

   source of revenue for the deeproot Entities other than newly invested money because the deeproot

   Entities continuously operated at a loss.

              20.      Monies invested with one of the Subsidiary Funds were eventually transferred to

   deeproot Funds, LLC, which was the principal entity that handled payments to investors, before

   being transferred elsewhere. The Finders were paid fees (the “Finder Fees”) based off of the

   amount of money invested in one of the deeproot Entities by new investors. The Finder Fees were

   paid to Finders from Policy Services, Inc. regardless of where the new investor invested the

   monies.




   6
       The deeproot Entities obtained Form D exemptions from the SEC to offer these securities.
   7
     Courts have recognized a so-called “finder’s exception,” which permits a person to “‘perform a narrow scope of
   activities without triggering the b[r]oker/dealer registration requirements,’” such as “‘[m]erely bringing together the
   parties to transactions, even those involving the purchase and sale of securities, is not enough’” to warrant broker
   registration. S.E.C. v. Kramer, 778 F. Supp. 2d 1320, 1336 (M.D. Fla. 2011) (quoting Salamon v. Teleplus Enter.,
   Inc., No. 05-2058 (WHW), 2008 WL 2277094, at *8 (D. N.J. 2008), and Apex Global Partners, Inc. v. Kaye/Bassman
   Intern. Corp., No. 3:09-cv-637-M, 2009 WL 2777869, at *3 (N.D. Tex. Aug. 31, 2009)). The most commonly cited
   factors as to whether someone was acting as a broker with respect to a given transaction are: “whether a person (1)
   works as an employee of the issuer, (2) receives a commission rather than a salary, (3) sells or earlier sold the securities
   of another issuer, (4) participates in negotiations between the issuer and investor, (5) provides either advice or a
   valuation as to the merit of an investment, and (6) actively (rather than passively) finds investors.” Id. at 1334.
   “[T]ransaction-based compensation” is one of the hallmarks of being a broker-dealer. Kramer, 778 F. Supp. 2d at
   1336 (citing Cornhusker Energy Lexington, LLC v. Prospect St. Ventures, 2006 WL 2620985, at *6 (D. Neb. 2006).

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21-51523-mmp Doc#219 Filed 12/07/22 Entered 12/07/22 21:31:02 Main Document Pg 8 of
                                       17



                  a. Azar Parchami

            21.     Parchami is not registered as a broker-dealer with the SEC, nor is she registered as

   an investment advisor. From January 29, 2015 to February 5, 2015, Parchami received $26,000.00

   from Policy Services, Inc. (the “Parchami Transfers”). Policy Services, Inc.’s books and records

   reveal that these transfers were booked as “Commission Expenses.” A true and correct copy of

   Policy Services, Inc.’s QuickBooks records reflecting Commission Expense transfers from Policy

   Services, Inc. to Parchami is attached hereto as Exhibit B.

                                        V.      CAUSES OF ACTION

            22.     The Trustee brings this adversary proceeding to avoid fraudulent transfers and

   recover fraudulently transferred funds for the benefit of creditors of Policy Services, Inc.

            23.     Paragraphs 1 through 20 are incorporated herein by reference.

   Count 1 – Avoidance of Fraudulent Transfer under 11 U.S.C. § 544 and the Texas Uniform
   Fraudulent Transfer Act (Tex. Bus. & Com. Code § 24.005(a)(1)) (TUFTA Actual Fraud)

            24.     Pursuant to 11 U.S.C. § 544 and Tex. Bus. & Com. Code § 24.005(a)(1), the Trustee

   files this complaint seeking to avoid fraudulent transfers of property of Debtor Policy Services,

   Inc., and for damages against the fraudulent transferees of Policy Services, Inc. during the

   applicable time period.

            25.     The Parchami 544 Transfers in the amount of $26,000.00 occurred between January

   29, 2015 and February 5, 2015. See Exhibit A. The Parchami Transfers were made with an actual

   intent to hinder, delay or defraud Policy Services, Inc.’s creditors. The deeproot Entities were

   operated as a Ponzi scheme in which interest and dividend payments to earlier investors were paid

   using new investor money, thus paying fictitious profits for earlier investors.

            26.     Debtor Policy Services, Inc. was insolvent at the time of its creation and at the time

   of each of the Parchami 544 Transfers or became insolvent as a result of the Parchami 544


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21-51523-mmp Doc#219 Filed 12/07/22 Entered 12/07/22 21:31:02 Main Document Pg 9 of
                                       17



   Transfers, in that (a) the sum of Policy Services, Inc.’s debts were greater than all of Policy

   Services, Inc.’s assets at a fair valuation; (b) Policy Services, Inc. was engaging in or about to

   engage in a business or transaction for which Policy Services, Inc.’s remaining assets were

   unreasonably small in relation to the business or transaction; or (c) Policy Services, Inc. was

   intending to incur, or believed or reasonably should have believed that it would incur debts beyond

   its ability to pay such debts as they became due.

            27.   There was no capital infusion at the time Policy Services, Inc. was created.

            28.   Policy Services, Inc. had at least one outstanding creditor at the time of each of the

   Parchami 544 Transfers, or such creditor’s claim arose within a reasonable time after the Parchami

   544 Transfers, which currently remains unpaid. Proof of Claim No. 145-1 of the Policy Services,

   Inc. Claims Register filed by creditor Jill Ellis reflecting a claim dating back to March 25, 2013

   evidenced by a life settlement certificate purchased on the same date.

            29.   Pursuant to Tex. Bus. & Com. Code § 24.010(a)(1), the Trustee brings this action

   within one year of the date Trustee discovered or could reasonably have discovered the Parchami

   544 Transfers. The Parchami 544 Transfers constituted fraudulent transfers under 11 U.S.C. § 544

   and Tex. Bus. & Com. Code § 24.005(a)(1), such that the Trustee is entitled to a judgment in the

   amount of $26,000.00 to recover the Parchami 544 Transfers from Parchami.

   Count 2 – Recovery of Avoided Transfers Pursuant to 11 U.S.C. § 550 and the Texas
   Uniform Fraudulent Transfer Act (Tex. Bus. & Com. Code § 24.005(a)(1))

            30.   Parchami was the initial transferee of the Parchami 544 Transfers.

            31.   The Trustee is entitled to recover from Parchami, or any immediate or mediate

   transferee of Parchami, the Parchami 544 Transfers or the value of the Parchami 544 Transfers,

   along with prejudgment and post-judgment interest, pursuant to section 550 of the Bankruptcy

   Code and section 24.009(b) of the Texas Business and Commerce Code.

   {00601954;2}                                        9
21-51523-mmp Doc#219 Filed 12/07/22 Entered 12/07/22 21:31:02 Main Document Pg 10
                                     of 17



  Count 3 – Recovery of Attorneys’ Fees and Costs

           32.   The Trustee has been forced to incur attorneys’ fees and costs in connection with

  the filing and prosecution of this Complaint.

           33.   Pursuant to 11 U.S.C. § 544 and section 24.013 of the Texas Business and

  Commerce Code, the Court may award costs and reasonable attorneys’ fees in connection with a

  proceeding brought under the Texas Uniform Fraudulent Transfer Act. The Trustee hereby

  requests that any judgment include an award of the costs and attorneys’ fees incurred by the Trustee

  in connection with prosecuting this Complaint.

           34.   Prior to filing suit, the Trustee has made demand on Parchami. The demand has not

  been met. All conditions precedent to filing suit have been satisfied.

           35.   Furthermore, the Trustee requests an award for such attorneys’ fees and costs

  incurred in the filing and prosecution of this Complaint to the extent allowed under the Bankruptcy

  Code and Texas law. See 11 U.S.C. §§ 105(a), 544, 550(a), and Tex. Bus. & Com. Code § 24.013.

                                                  PRAYER

           WHEREFORE, JOHN PATRICK LOWE, Chapter 7 Trustee for the jointly administered

  Bankruptcy case of deeproot Capital Management, LLC, prays for judgment in favor of the

  Chapter 7 Trustee on all claims and relief sought herein, including but not limited to:

           a.    Avoiding the Parchami 544 Transfers as fraudulent transfers under section 544 of
                 the Bankruptcy Code and Chapter 24 of the Texas Business & Commerce Code;

           b.    Permitting recovery of the Parchami 544 Transfers or the value of the Parchami
                 544 Transfers, along with prejudgment and post-judgment interest;

           c.    Permitting recovery of all costs and attorneys’ fees incurred obtaining the relief
                 sought; and

           d.    Such other and further relief, at law or in equity, as the Court deems to be just,
                 proper, and equitable.



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21-51523-mmp Doc#219 Filed 12/07/22 Entered 12/07/22 21:31:02 Main Document Pg 11
                                     of 17



  Dated: December 7, 2022            Respectfully submitted,

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                                     ATTORNEYS FOR JOHN PATRICK LOWE,
                                     CHAPTER 7 TRUSTEE FOR DEEPROOT CAPITAL
                                     MANAGEMENT, LLC ET AL.




  {00601954;2}                         11
21-51523-mmp Doc#219 Filed 12/07/22 Entered 12/07/22 21:31:02 Main Document Pg 12
                                     of 17




                         EXHIBIT A
           21-51523-mmp Doc#219 Filed 12/07/22 Entered 12/07/22 21:31:02 Main Document Pg 13
                     Market Yield on U.S. Treasury Securities at 5-Year
                                                                     ofConstant
                                                                        17 Maturity, Quoted on an Investment Basis
          4.5



          4.0



          3.5



          3.0



          2.5
Percent




          2.0



          1.5



          1.0



          0.5



          0.0
                              2016             2017             2018      2019   2020              2021       2022


          Source: Board of Governors of the Federal Reserve System (US)                 fred.stlouisfed.org
21-51523-mmp Doc#219 Filed 12/07/22 Entered 12/07/22 21:31:02 Main Document Pg 14
                                     of 17




                         EXHIBIT B
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                                         21-51523-mmp Doc#219 Filed 12/07/22       Services, Inc.12/07/22 21:31:02 Main Document Pg 15
07/25/22
Accrual Basis                                                        Transaction Detail By Account
                                                                                      of 17
                                                                              All Transactions




                                               Type     Date       Num                    Name                   Memo   Clr             Split           Amount

  Policy Services   Commission Expense     Check      01/29/2015         Azar Parchami                                        Corporate Checking 8461    6,000.00
  Policy Services   Commission Expense     Check      02/05/2015         Azar Parchami           Azar Parchami                Corporate Checking 8461   20,000.00
                                                                         Azar Parchami Total                                                            26,000.00




                                                                                                                                                                    Page 1 of 1
21-51523-mmp Doc#219 Filed 12/07/22 Entered 12/07/22 21:31:02 Main Document Pg 16
                                     of 17
21-51523-mmp Doc#219 Filed 12/07/22 Entered 12/07/22 21:31:02 Main Document Pg 17
                                     of 17
